Case 3:16-md-02738-MAS-RLS Document 32600 Filed 06/03/24 Page 1 of 1 PageID: 184995




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    Via ECF


    June 3, 2024

    Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court- District of NJ
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Court Room 7W
    Trenton, NJ 08608

    Re:       In re: Johnson & Johnson Talcum Powder Products Marketing, Sales
              Practices and Products Liability Litigation - MDL 2738

    Dear Magistrate Judge Singh:

          Defendants Johnson & Johnson and LLT Management, LLC, write to Your Honor to
   respectfully request the Court enter the May 1, 2024 Order to Show Cause (ECF 32128). That
   Order required cases listed in the exhibit attached thereto to show cause why their case should
   not be dismissed with prejudice for their failure to provide Defendants with a Plaintiff Profile Form
   pursuant to the Court’s Order of February 13, 2024 (ECF 29032).

         Since the filing of the May 1, 2024, Order to Show Cause, only 2 out of the 64 cases listed
   have come off Defendants’ deficiency lists - Scott Dawson, Case No. 3:16-cv-08749, and
   Thomas Jackson, Case No. 3:17-cv-10654. Those 2 cases will not be listed on the final
   dismissal order Defendants will file pursuant to paragraph 4 of the Order to Show Cause.

             Thank you for your consideration of these matters.

                                                  Respectfully,

                                                  /s/ Susan M. Sharko
                                                  Susan M. Sharko
                                                  FAEGRE DRINKER BIDDLE & REATH LLP

                                                  Attorneys for Defendants
                                                  Johnson & Johnson and LLT
                                                  Management, LLC


   SMS/scg
   cc: Leigh O’Dell, Esq. (via e-mail)
       Michelle Parfitt, Esq. (via e-mail)
       All Counsel of Record (ECF)
